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                    UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

      Plaintiff,

v.
                                            Case No. 19-cv-10835-SFC-MKM
PRECIOUS PHYSICAL THERAPY, INC.;
                                            Judge Sean F. Cox
STERLING PHYSICAL THERAPY
                                            Magistrate Judge Mona K. Majzoub
PROVIDER CORP.;
CORE PHYSICAL THERAPY CORP.;
HEMALKUMAR MADHUSUDAN
BHAGAT; PAYAL HEMAL BHAGAT;
KHALID GAZGUZ;
HANSEE SESI; and SALWA ELIA,

      Defendants.
            NOTICE OF APPEARANCE OF DAVID D. O’BRIEN
      PLEASE TAKE NOTICE that David D. O’Brien of Miller, Canfield,

Paddock and Stone, P.L.C., hereby enters his appearance on behalf of Plaintiff,

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY, in the

above-captioned case.

                              Respectfully submitted,
                              MILLER, CANFIELD, PADDOCK AND STONE, PLC

                              By:    /s/David D. O’Brien
                                     David D. O’Brien (P65532)
                                     Miller, Canfield, Paddock and Stone, PLC
                                     101 North Main Street, 7th Floor
                                     Ann Arbor, MI 48104
                                     Telephone: (734) 668-7761
                                     obrien@millercanfield.com
Dated: March 21, 2019                Attorneys for Plaintiff
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                        CERTIFICATE OF SERVICE
      I hereby certify that on March 21, 2019, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send

notification of such filing to the following to all parties of record, and I hereby

certify that I have mailed by United States Postal Service the paper to the

following non-ECF participants: None.

                               Respectfully submitted,

                               By:      /s/David D. O’Brien
                                        David D. O’Brien (P65532)
                                        Miller, Canfield, Paddock and Stone, PLC
                                        101 North Main Street, 7th Floor
                                        Ann Arbor, MI 48104
                                        Telephone: (734) 668-7761
                                        obrien@millercanfield.com

                                        Attorneys for Plaintiff

Dated: March 21, 2019




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